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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                      Plaintiff,                 )
                                                 )                8:08CR476
       vs.                                       )
                                                 )                  ORDER
EMMANUEL JACKSON,                                )
                                                 )
                      Defendant.                 )


       This matter is before the court on the defendant's motion for an extension of time
in which to file pretrial motions (Doc. 29). Upon review of the file, and for good cause
shown, the court finds that the motion should be granted.

       IT IS ORDERED that the motion is granted, as follows:

       1.    The deadline for filing pretrial motions is extended to February 23, 2009.

        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this motion and outweigh the interests of the public and
the defendant in a speedy trial. Any additional time arising as a result of the granting of
this motion, that is, the time between January 22, 2009 and February 23, 2009, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act because counsel require additional time to adequately prepare the case, taking
into consideration due diligence of counsel and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B)(iv).

     3. Defendant shall file an affidavit or declaration regarding speedy trial, as required
by NECrimR 12.1 and/or 12.3, as soon as is practicable.

       DATED January 23, 2009.

                                              BY THE COURT:

                                              s/ F.A. Gossett
                                              United States Magistrate Judge
